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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10
         MANJINDER SINGH BEESLA,                              CASE NO. 3:21-cv-05619-DGE
11
                                Plaintiff,                    ORDER ADOPTING REPORT AND
12                v.                                          RECOMMENDATION AND
                                                              DISMISSING PLAINTIFF’S
13       PIERCE COUNTY SHERRIFF'S                             COMPLAINT
         DEPARTMENT,
14
                                Defendant.
15

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17           On August 25, 2021, Plaintiff, proceeding pro se, filed a civil rights action filed pursuant

18   to 42 U.S.C. § 1983 1 alleging that the Pierce County Sherriff’s Department failed to protect him

19   from harassment at his home and workplace by not responding to several 911 calls. (Dkt. No. 1-

20   1 at 4-6.)

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22   1
      Plaintiff filed his complaint alleging violations of 28 U.S.C. § 1346. (Dkt. No. 1-1 at 3.)
     Because 28 U.S.C. § 1346 pertains to lawsuits against the United States, it would not apply to the
23
     Pierce County Sherriff’s Department. Accordingly, the Court construed Plaintiff’s complaint as
     one filed under 42 U.S.C. § 1983. (Dkt. No. 6 at 1.)
24

     ORDER ADOPTING REPORT AND RECOMMENDATION AND DISMISSING PLAINTIFF’S COMPLAINT -
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               Case 3:21-cv-05619-DGE Document 8 Filed 12/27/21 Page 2 of 2




 1          On October 19, 2021, this Court issued an order directing Plaintiff to show cause why

 2   this action should not be dismissed after concluding that Plaintiff had not identified any viable

 3   cause of action in his complaint. (Dkt. No. 6.) The Court explained that Plaintiff failed to allege

 4   facts upon which any individual Defendant was liable, and did not allege facts that would

 5   plausibly establish causation between the acts or omissions of the Defendant and a deprivation of

 6   Plaintiff’s rights. (Id. at 4-5.) The Court further explained that Plaintiff had failed to allege a

 7   cause of action against the Pierce County Sherriff’s Department. (Id.) Plaintiff did not respond

 8   to the Court’s order to show cause.

 9          On December 8, 2021, United States Magistrate Judge Theresa Fricke, finding that

10   Plaintiff had not responded to the Order to Show Cause, issued a report and recommendation

11   (“R&R”) recommending that Plaintiff’s complaint and this action be dismissed without prejudice

12   for failure to prosecute. (Dkt. No. 7.) Plaintiff did not respond to the R&R.

13          The Court, having reviewed Plaintiff’s complaint, the Report and Recommendation of the

14   Honorable Theresa Fricke, United States Magistrate Judge, any objections thereto, and the

15   remaining record, hereby finds and ORDERS as follows:

16          (1) The Report and Recommendation is ADOPTED;

17          (2) Plaintiff’s complaint is DISMISSED without prejudice for failure to file an amended

18   complaint or otherwise respond to the order to show cause; and

19          (3) The Clerk shall close this case.

20          Dated this 27th day of December, 2021.

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22                                                          A
                                                            David G. Estudillo
23                                                          United States District Judge
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     ORDER ADOPTING REPORT AND RECOMMENDATION AND DISMISSING PLAINTIFF’S COMPLAINT -
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